 

Case 2:20-cv-00283-APG-VCF Document1 Filed 0 rer2et Page 1 of e—P™"

. _ . COUNSE | ,
AQ 240 (Rev. 07/10) Applicaton to Proceed in District Court Without Prepaying Fees or Costs (Short Form) PART —

UNITED STATES DISTRICT CGURT| FEB 10 2020 |

for the
bistwret of NEV AOR

 

 

 

 

CLERK US DISTRICT COURT

A ny DISTRICT OF NEVADA
ntHOoNY Olived, . pare

Plaintiff Petitioner

 

¥.

Houston Astaes ,Lst.c. e+ at, 2:20-cv-00283-APG-VCF

Defendant Respoaudent

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Short Form)

I am a plaintiff or petitioner in this case and declare that | am unable to pay the costs of these proceedings and
that 1 am entitled to the relief requested.

In support of this application, | answer the following questions under penalty of perjury:

|. incarcerated. | am being held at: G€ OW 6IN Lone County Prtigad
If employed there, or have an account in the institution, | have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. | am also submitting a similar statement from any other institution where | was
incarcerated during the last six months. ee aatacuedh

 

2. ifnot incarcerated. \f 1am employed, my employer’s name and address are:

My gross pay or wages are: $ O00 . and my take-home pay or wages are: $ 6-b6a sper

 

fspecifv pay period)

3. Other Income. \n the past {2 months, I have received income from the following sources (check all that apply):

(a) Business, profession, or other self-employment Yes &No
(b} Rent payments, interest, or dividends O Yes WNo
(c) Pension, annuity, or life insurance payments 7 Yes No
(d) Disability. or worker's compensation payments 3 Yes 4 No
(e) Gifts, or inheritances Tm Yes M No
(f) Any other sources O Yes wt No

Ifvau answered “Yes” to any question above. describe below or on separate pages each source of money and
state the amount that you received and what vou expect to receive in the future.

Net ApelY,
Case 2:20-cv-00283-APG-VCF Document1 Filed 02/10/20 Page 2 of 8

AO 240 (Rey. 07/10) Application to Proceed in Districl Court Without Prepaying Fees or Costs (Short Form)

4, Amount of money that I have in cash or in a checking or savings account: § 8.ao0-

5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or

thing of value that I own, including any item of value held in someone else’s name (describe the property and its approximate
value}!

20id Jeee CHenakee - Mepossetsen- Olare A ALe-taq (ea)

6, Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount of the manthly expense}:

Nene AT “TULS Tere

7. Names (or, if under 18. initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support:

WOE AT TMS “Time

8. Any debts or financial obligations (describe the amounts owed aad to whom they are parable):
Yer.

Dein Mansuan Secicot cb law - ZT, ovo (Lew fur-se0i)

Anonew Mcéecon ~— K tL,oos ( student loan)
SmrE BAK se Titiwors F 71 o%a [mvrse Finds )

Declaration: | declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.

Date: Jawvaay 29, 2020 —t

Applicant's signature

A nro Oliven | Pl arate

Printed name
  
  
  
 

Case 2:20-cv-00283-APG-VCF Documenti1 Filed 02/10/20 Page 3 of 8 Page. 1
OLIVER, ANTHONY Printed By; CRAWFORD, BEVERLEY

GDC ID: 1002060648

Statement

spendable Amount Reserved Amount Receipts On Hold Funds Balance Obligations/Court Charges
$185.88 $10.00 $0.00 $195.88 $992.00
RECEIPTS
eceipt Date TransactionID Receipt Type Receipt Details Receipt Amount

01/22/2020 20305533 JPAY DEPCSIT RECEIPT JPAY - HILLIARD, MARTIN - 111017444 $300.00
10/28/2019 20016315 MAIL ROOM RECEIPT CHATHAM CO - 6355 $341.63
WITHDRAWALS
Date Request Date Location Paid Withdrawal Type Payable To Detail Amount Check No
01/23/2020 CENTRAL ACCT- WITHDRAWAL FOR SMITH STATE PRISON. TELEPHONE $10.00
OFFENDER TRUST PHONE CREDITS MINUTES
PURCHASE
01/23/2020 CENTRAL ACCT- STORE PURCHASE SMITH STATE PRISON STORE $69.41
OFFENDER TRUST PURCHASE
01/23/2020 CENTRAL ACCT- WITHDRAWAL FOR = JPAY CORPORATION KIOSK $25.00
OFFENDER TRUST JPAY KIOSK PURCHASE @
LONG UNIT -
JPAY JPAY
DOLLAR
PURCHASE
01/22/2020 CENTRAL ACCT- WITHDRAWAL FOR SMITH STATE PRISON RECORD ID = $1.65
OFFENDER TRUST OBLIGATION 27994593. NON
LEGAL STAMP
01-07-2020, 2
LEGAL
STAMPS 01-
07-2020
01/22/2020 CENTRAL ACCT- WITHDRAWAL FOR SMITH STATE PRISON RECORD ID = $1.10
OFFENDER TRUST OBLIGATION 27991500.
INDIGENT
POSTAGE Ci-
02-2020
01/22/2020 CENTRAL ACCT- WITHDRAWAL FOR SMITH STATE PRISON RECORD ID = $0.55
OFFENDER TRUST OBLIGATION 27991413.
01/22/2020 CENTRAL ACCT- WITHDRAWAL FOR = SMITH STATE PRISON RECORD ID = $1.65
OFFENDER TRUST OBLIGATION 27994757.
LEGAL MAIL
01-14-2020
01/22/2020 CENTRAL ACCT- WITHDRAWAL FOR = SMITH STATE PRISON RECORD ID = $1.55
OFFENDER TRUST OBLIGATION 27994845.
LEGAL MAIL
01-14-2020
01/22/2020 CENTRAL ACCT- WITHDRAWAL FOR SMITH STATE PRISON RECORD ID= $1.10
OFFENDER TRUST OBLIGATION 27994852.
LEGAL
POSTAGE 01-
14-2020
01/22/2020 CENTRAL ACCT- WITHDRAWAL FOR SMITH STATE PRISON RECORD ID = $1.10
OFFENDER TRUST OBLIGATION 27991495,
INDIGENT
POSTAGE 01-
02-2020
01/22/2020 CENTRAL ACCT- WITHDRAWAL FOR GEORGIA MONTHLY $0.91
OFFENDER TRUST OBLIGATION DEPARTMENT OF PROCESSING
CORRECTIONS FEE FOR
01/2020

Account Statement

6 Total Pages
SCRIBE * Case 2:20-cv-00283-APG-VCF Document1 Filed 02/10/20 Page4of8 Page: 2
Account Statement OLIVER, ANTHONY Printed By: CRAWFORD, BEVERLEY
GDC ID: 1002060648
Date Request Date Location Paid Withdrawal Type Payable To Detail Amount Check No
01/01/2020 CENTRAL ACCT- WITHDRAWAL FOR GEORGIA Monthly ¢ $0.09
OFFENDER TRUST OBLIGATION DEPARTMENT OF Processing Fee
CORRECTIONS 01/2020
42/20/2019 CENTRAL ACCT- STORE PURCHASE SMITH STATE PRISON STORE ($4.05 BOA ACH-
OFFENDER TRUST PURCHASE 2010000130
12/20/2019 CENTRAL ACCT- WITHDRAWAL FOR JPAY CORPORATION KIOSK $2.00 183376
OFFENDER TRUST JPAY KIOSK PURCHASE @
LONG UNIT -
JPAY JPAY
DOLLAR
PURCHASE
12/17/2019 CENTRAL ACCT- WITHDRAWAL FOR JPAY CORPORATION KIOSK $6.00 183305
OFFENDER TRUST JPAY KIOSK PURCHASE @
LEE STATE
PRISON -
JPAY JPAY
DOLLAR
PURCHASE
12/16/2019 CENTRAL ACCT- STORE PURCHASE CALHOUN STATE STORE ($12.14) BOA ACH-
OFFENDER TRUST PRISON PURCHASE 2010000130
12/12/2019 CENTRAL ACCT- WITHDRAWAL FOR JPAY CORPORATION KIOSK $3.09 183176
OFFENDER TRUST JPAY KIOSK PURCHASE @
CALHOUN
STATE PRISON
- JPAY JPAY
BOLLAR
PURCHASE
42/11/2019 CENTRAL ACCT- STORE PURCHASE CALHOUN STATE STORE $3.40 BOA ACH-
OFFENDER TRUST PRISON PURCHASE 2010000130
12/11/2019 CENTRAL ACCT- STORE PURCHASE CALHOUN STATE STORE ($3.40) BOA ACH-
OFFENDER TRUST PRISON PURCHASE 2010000130
42/10/2019 CENTRAL ACCT- STORE PURCHASE CALHOUN STATE STORE $12.14 BOA ACH-
OFFENDER TRUST PRISON PURCHASE 2010000130
12/04/2019 CENTRAL ACCT- WITHDRAWAL FOR CALHOUN STATE TELEPHONE $15.00 JPAY-
OFFENDER TRUST PHONE CREDITS PRISON MINUTES 2020000108
PURCHASE
12/04/2019 CENTRAL ACCT- STORE PURCHASE CALHOUN STATE STORE $18.99 BOA ACH-
OFFENDER TRUST PRISON PURCHASE 2010000130
12/01/2019 CENTRAL ACCT- WITHDRAWAL FOR GEORGIA Monthly $1.00 183524
OFFENDER TRUST OBLIGATION DEPARTMENT OF Processing Fee
CORRECTIONS 12/2019
11/25/2019 CENTRAL ACCT- WITHDRAWAL FOR CALHOUN STATE TELEPHONE $10.00 JPAY-
OFFENDER TRUST PHONE CREDITS PRISON MINUTES 2020000107
PURCHASE
11/25/2019 CENTRAL ACCT- STORE PURCHASE CALHOUN STATE STORE $18.74 BOA ACH-
OFFENDER TRUST PRISON PURCHASE 2010000129
11/20/2019 CENTRAL ACCT- STORE PURCHASE GADIAG CLASS STORE $59.28 BOA ACH-
OFFENDER TRUST PRISON PURCHASE 2010000129
11/14/2019 CENTRAL ACCT- STORE PURCHASE GADIAG CLASS STORE 569.56 BOA ACH-
OFFENDER TRUST PRISON PURCHASE 2010000129
11/06/2019 CENTRAL ACCT- WITHDRAWAL FOR GADIAG CLASS TELEPHONE $15.00 JPAY-
OFFENDER TRUST PHONE CREDITS PRISON MINUTES 2020000104
PURCHASE
11/06/2019 CENTRAL ACCT- STORE PURCHASE GADIAG CLASS STORE $63.66 BOA ACH-
OFFENDER TRUST PRISON PURCHASE 2010000129
11/01/2019 CENTRAL ACCT- WITHDRAWAL FOR GEORGIA Monthly $1.00 182645
OFFENDER TRUST OBLIGATION DEPARTMENT OF Processing Fee
CORRECTIONS 11/2019
10/30/2019 CENTRAL ACCT- STORE PURCHASE GADIAG CLASS STORE $11.00 BOA ACH-
OFFENDER TRUST PRISON PURCHASE 2010000128
10/30/2019 CENTRAL ACCT- STORE PURCHASE GADIAG CLASS STORE $33.17 BOA AGH-
OFFENDER TRUST PRISON PURCHASE 2010000128
Account Statement § Total Pages
‘SCRIBE ~ Case 2:20-cv-00283-APG-VCF Document1 Filed 02/10/20 Page5of8 Page: 3
Account Statement OLIVER, ANTHONY Printed By: CRAWFORD, BEVERLEY

GDC ID: 1002060648

OBLIGATIONS
Paid Status: P = Partially paid; Y = Paid in full; R = Reversed; W = Written off
Date Location Incurred Obligation Type Payable To Obligation Detail Amount = Paid
01/16/2020 CENTRAL ACCT- INDIGENT LOAN SMITH STATE PRISON RECORD ID = 27994852. $1.10 Y
OFFENDER TRUST LEGAL POSTAGE 01-14-
2026
01/16/2020 CENTRAL ACCT- INDIGENT LOAN SMITH STATE PRISON RECORD ID = 27994845. $1.65 Y
OFFENDER TRUST LEGAL MAIL 01-14-2020
01/16/2020 CENTRAL ACCT- INDIGENT LOAN SMITH STATE PRISON RECORD ID = 27994757. $1.65 Y
OFFENDER TRUST LEGAL MAIL 01-14-2020
01/16/2020 CENTRAL ACCT- INDIGENT LOAN SMITH STATE PRISON RECORD ID = 27994593. $1.65 Y
OFFENDER TRUST NON LEGAL STAMP 01-
07-2020, 2 LEGAL
STAMPS 01-07-2020
01/14/2020 CENTRAL ACCT- INDIGENT LOAN SMITH STATE PRISON RECORD ID = 27991500. $1.10 Y
OFFENDER TRUST INDIGENT POSTAGE 01-
02-2020
01/14/2020 CENTRAL ACCT- INDIGENT LOAN SMITH STATE PRISON RECORD ID = 27991495. $1.10 Y
OFFENDER TRUST INDIGENT POSTAGE 01-
02-2020
01/14/2020 CENTRAL ACCT- INDIGENT LOAN SMITH STATE PRISON RECORD ID = 27991413. $0.55 Y
OFFENDER TRUST
91/01/2020 CENTRAL ACCT- MONTHLY PROCESSING GEORGIA Monthly Processing Fee for $1.00 ¥
OFFENDER TRUST FEE DEPARTMENT OF 01/2020
CORRECTIONS
12/01/2019 CENTRAL ACCT- MONTHLY PROCESSING GEORGIA Monthly Processing Fee far $1.00 ¥
OFFENDER TRUST FEE DEPARTMENT OF 12/2019
CORRECTIONS
11/01/2019 CENTRAL ACCT- MONTHLY PROCESSING GEORGIA Monthly Processing Fee for $1.00 Y
OFFENDERTRUST FEE DEPARTMENT OF 11/2019
CORRECTIONS
COURT CHARGES
Date Lecation Incurred Court Charge Type Payable To Court Charge Detail Original Outstanding
Ameunt Balance
12/01/2019 DOCKET#: SCS285943 =CRIMINAL JUSTICE GA CRIME VICTIM'S $9.00 $9.00
- GA CRIME VICTIMS COORDINATING EMERGENCY FUND
EMERGENCY FUND COUNGIL FOR 12/19
12/01/2019 DOCKET#: SC5285943 GEORGIA PROBATION FEE $23.00 $23.00
- PROBATION FEE DEPARTMENT OF FOR 12/19
CORRECTIONS
12/01/2018 DOCKET#: $C5285943 CRIMINAL JUSTICE GA CRIME VICTIM'S $9.00 $9.00
- GA CRIME VICTIMS COORDINATING EMERGENCY FUND
EMERGENCY FUND COUNCIL FOR 12/18
1210172018 DOCKET#: SCS285943 =GEORGIA PROBATION FEE $23.00 $23.00
- PROBATION FEE DEPARTMENT OF FOR 12/18
CORRECTIONS
12/01/2017 DOCKET#: SCS$285943 = =CRIMINAL JUSTICE GA CRIME VICTIM'S $9.00 $9.06
- GA CRIME VICTIMS COORDINATING EMERGENCY FUND
EMERGENCY FUND COUNCIL FOR 12/17
12/01/2017 DOCKET#: SCS285943. GEORGIA PROBATION FEE $23.00 $23.00
- PROBATION FEE DEPARTMENT OF FOR 12/17
CORRECTIONS
41/01/2019 DOCKET#: 8CS285943 = CRIMINAL JUSTICE GA CRIME VICTIM'S $9.00 $9.00
- GA CRIME VICTIMS COORDINATING EMERGENCY FUND
EMERGENCY FUND COUNCIL FOR 411/19
11/01/2019 DOCKET#: SCS285843 GEORGIA PROBATION FEE $23.00 $23.00
~ PROBATION FEE DEPARTMENT OF FOR 11/19
CORRECTIONS
Account Statement & Total Pages
” SCRIBE *

Account Statement

Data Location Incurred

11/01/2018

11/01/2018

1101/2017

41/01/2017

10/02/2017

40/02/2017

10/01/2019

10/01/2019

10/01/2018

10/01/2018

09/07/2017

09/07/2017

09/01/2019

09/01/2019

09/01/2018

09/01/2018

08/01/2019

08/01/2019

08/01/2018

08/01/2018

Account Statement

OLIVER, ANTHONY

Court Charge Type

DOCKET#: SCS285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: $CS285943
~ PROBATION FEE

DOCKET#: SCS285043
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: SCS285943
- PROBATION FEE

DOCKET#: SCS285043
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: $CS$285943
~ PROBATION FEE

DOCKET#: 808285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: $CS285943
- PROBATION FEE

DOCKET#: SCS285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: SCS285943
- PROBATION FEE

DOCKET#: SC5285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: $CS285943
- PROBATION FEE

DOCKET#: SCS285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: SCS285943
~ PROBATION FEE

DOCKET#: SCS285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: SCS285943
- PROBATION FEE

DOCKET#: $C5285943
~ GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: SCS285943
- PROBATION FEE

DOCKET#. S$CS285942
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: SCS285943
- PROBATION FEE

GDC iD: 1002060648

Payable To

CRIMINAL JUSTICE
COORDINATING
COUNCIL

GEORGIA
DEPARTMENT OF
CORRECTIONS

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COORDINATING
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DEPARTMENT OF
CORRECTIONS

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Page: 4

Printed By: CRAWFORD, BEVERLEY

Court Charge Detail

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 11/18

PROBATION FEE
FOR 11/18

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 11/17

PROBATION FEE
FOR 11/47

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 10/17

PROBATION FEE
FOR 10/17

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 10/19

PROBATION FEE
FOR 10/19

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 10/18

PROBATION FEE
FOR 10/18

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 09/17

PROBATION FEE
FOR 09/17

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 09/19

PROBATION FEE
FOR 03/19

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 09/18

PROBATION FEE
FOR 09/18

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 08/19

PROBATION FEE
FOR 08/19

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 08/18

PROBATION FEE
FOR 08/18

Original

Amount

$9.00

$23.00

$9.00

$23.00

$9.00

$23.00

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Outstanding
Balance

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& Total Pages
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Account Statement

Date Location Incurred

08/01/2017

08/01/2017

07/01/2019

07/01/2019

07/01/2018

07/01/2018

07/01/2017

07/01/2017

06/01/2019

06/01/2019

06/01/2018

06/01/2018

05/01/2019

05/01/2019

05/01/2018

05/01/2018

04/01/2019

04/01/2019

04/01/2018

04/01/2018

Account Statement

OLIVER, ANTHONY

Court Charge Type

DOCKET#: SCS285943
~ GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: S$CS285943
- PROBATION FEE

DOCKET#: SC$285943
- GACRIME VICTIMS
EMERGENCY FUND

DOCKET#: $CS285943
- PROBATION FEE

DOCKET#: SCS285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: $CS285943
- PROBATION FEE

DOCKET#: $CS285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: SC$285943
- PROBATION FEE

DOCKET#: SCS285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: SCS285943
- PROBATION FEE

DOCKET#: SCS285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET# $CS285943
- PROBATION FEE

DOCKET#: SCS285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: SC3285943
- PROBATION FEE

DOCKET#, SC$285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: SCS285943
~ PROBATION FEE

DOCKET#: SCS$285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: SC5285843
- PROBATION FEE

DOCKET#: SCS285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: $CS285943
- PROBATION FEE

GDC ID: 1002060648

Payable To

CRIMINAL JUSTICE
COORDINATING
COUNCIL

GEORGIA
DEPARTMENT OF
CORRECTIONS

CRIMINAL JUSTICE
COORDINATING
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CORRECTIONS

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DEPARTMENT OF
CORRECTIONS

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Printed By: CRAWFORD, BEVERLEY

Court Charge Detail

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 08/17

PROBATION FEE
FOR 08/17

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 07/19

PROBATION FEE
FOR O7/19

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 07/18

PROBATION FEE
FOR 07/18

GA GRIME VICTIM'S
EMERGENCY FUND
FOR 07/17

PROBATION FEE
FOR 07/17

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 06/19

PROBATION FEE
FOR 06/18

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 06/18

PROBATION FEE
FOR 06/18

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 05/19

PROBATION FEE
FOR 05/19

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 06/18

PROBATION FEE
FOR 05/18

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 04/19

PROBATION FEE
FOR 04/19

GA GRIME VICTIM'S
EMERGENCY FUND
FOR 04/18

PROBATION FEE
FOR 04/18

Original
Amount

39.00

$23.00

$9.00

$23.00

$9.00

$23.00

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Outstanding
Balance

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6 Total Pages
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Account Statement

Date Lecation incurred

03/01/2019

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03/01/2018

03/01/2018

02/01/2019

02/01/2019

02/01/2018

02/01/2018

01/01/2020

01/01/2020

01/01/2019

01/01/2019

01/01/2018

01/01/2018

Date Location
Modified

Account Statement

Court Charge Type

OLIVER, ANTHONY

Court Charge Type

DOCKET#: SCS285943
~ GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: SCS285943
- PROBATION FEE

DOCKET#: $CS285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: SCS285943
- PROBATION FEE

DOCKET#: SCS285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: SCS2B5943
~ PROBATION FEE

DOCKET#: SCS285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: SCS285943
- PROBATION FEE

DOCKET#: $CS285943
~ GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: SCS285943
- PROBATION FEE

DOCKET#: 505285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: SCS285943
- PROBATION FEE

DOCKET#. SCS285943
- GA CRIME VICTIMS
EMERGENCY FUND

DOCKET#: SCS285943
- PROBATION FEE

GDe ID: 1002060648

Payable To

CRIMINAL JUSTICE
COORDINATING
COUNCIL

GEORGIA
DEPARTMENT OF
CORRECTIONS

CRIMINAL JUSTICE
COORDINATING
COUNCIL

GEORGIA
DEPARTMENT OF
CORRECTIONS

CRIMINAL JUSTICE
COORDINATING
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DEPARTMENT OF
CORRECTIONS

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Court Charge Detail

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 03/19

PROBATION FEE
FOR 03/19

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 03/18

PROBATION FEE
FOR 03/18

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 02/19

PROBATION FEE
FOR 02/19

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 02/18

PROBATION FEE
FOR 02/18

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 91/20

PROBATION FEE
FOR 01/20

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 01/19

PROBATION FEE
FOR 0149

GA CRIME VICTIM'S
EMERGENCY FUND
FOR 01/18

PROBATION FEE
FOR 01/18

COURT CHARGE MODIFICATIONS

Payable To

Original
Fee Amount

Original

Amount

$9.00

$23.00

$9.00

$23.00

$9.00

$23.00

$9.00

$23.00

$2.00

$23.00

$9.00

$23.00

$9.00

$23.00

Modification

Amount

 

Outstanding
Balance

$9.00

$23.00

$9.00

$23.00

59.00

$23.00

$9.00

$23.00

$9.00

$23.00

$9.00

$23.00

$9.00

$23.00

Modification
Reasen

& Total Pages
